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                                          Luke Poppe
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2/1/2016

The Honorable William M. Conley
U.S. District Court
Western District of Wisconsin
120 North Henry Street, Room 320
Madison, WI 53703


To whom it may concern,

       My name is Luke Poppe, I am a University of Wisconsin – Madison alumnus, where I
met Amadou Camara during our freshmen year. He had just gotten into a small accident and was
looking for a first-aid kit. We both lived in the residence hall Witte where he approached me to
ask me for one and I was happy to extend a helping hand. We got to know each other and got
along well. I would later have economics class with him where we worked through difficult and
arduous course work.

        On September 27, 2014, Jake Anderson was in a diving accident in Madison, Wisconsin.
He broke his neck and severely injured his spinal cord, leaving him quadriplegic. The day of the
accident Amadou and another one of my friends Carissa rushed to the hospital to visit him. Jake
was in critical condition but since then has made a lot of progress on his road to recovery. Jake is
a long time Broncos fan and also a fellow badger. Amadou flew into the Minneapolis airport on
Christmas day where I picked him up. With him he had a very special package of signed Broncos
gear and super bowl gloves for Jake. Amadou and I waited at the Abbott Northwestern Hospital
where Jake was receiving care to surprise him. He was very excited to say the least and it was a
pleasure to be a part of his support system. I think this speaks very highly of Amadou’s character
and what type of person he is, selfless and very caring. If there is any additional information I
can provide please let me know.

Sincerely,


Luke Poppe
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